
McBRIDE, Judge.
This is one of the seven consolidated cases mentioned in Mack Trucks, Inc. v. Dixon and James F. Toups, d/b/a T &amp; D Contracting Company, 142 So.2d 605, in which an opinion and decree has been handed down by us this day. For the reasons stated therein and also for the reasons stated in our opinion handed down this day in the matter entitled Mack Trucks, Inc. v. Dixon and James F. Toups, d/b/a T &amp; D Contracting Company, 142 So.2d 609.
It is ordered, adjudged and decreed that the judgment appealed from is annulled by striking therefrom and setting aside that portion thereof which maintained the exception to the lower court’s jurisdiction ratione materiae, and as thus amended, and in all other respects, the judgment is affirmed.
Plaintiff is to pay the costs of this appeal.
Reversed in part; affirmed in part.
